Case 1:19-cv-02462-JMS-DLP Document 8 Filed 06/28/19 Page 1 of 2 PageID #: 56




                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


 JANE DOE,                                    )
                                              )
                Plaintiff.                    )        Cause No.: 1:19-cv-2242-RLY-MJD
                                              )
                                              )
vs.                                           )
                                              )
                                              )
 LEBANON COMMUNITY                            )
 SCHOOL CORPORATION,                          )
                                              )
                Defendant.                    )

                                 APPEARANCE OF COUNSEL

To:     The clerk of court and all parties of record

       I am admitted or otherwise authorized to practice in this court, and I appear in this case as
counsel for:

        Lebanon Community School Corporation
        1810 N. Grant Street
        Lebanon, IN 46052

Date:   June 26, 2019                         /s/ Brent R. Borg_______________
                                              Brent R. Borg, Atty. No: 27415-29

                                              Brent R. Borg_________________
                                              Print Name

                                              Church Church Hittle + Antrim
                                              10765 Lantern Road, Suite 201
                                              Fishers, IN 46038
                                              Bborg@cchalaw.com
                                              Tel: 317-773-2190
                                              Fax: 317-572-1609




                                                  1
Case 1:19-cv-02462-JMS-DLP Document 8 Filed 06/28/19 Page 2 of 2 PageID #: 57




                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 26th day of June 2019, a true and exact copy of the foregoing

was filed electronically via the Court’s Electronic filing system. Notice of this filing was sent to

the following by operation of the Court’s Electronic filing system:

 Brett E. Osborne                                    Kent M. Frandsen
 HOCKER & ASSOCIATES, LLC                            PARR RICHEY FRANDSEN PATTERSON
 6626 E. 75th Street, Suite 410                      KRUSE, LLP (Lebanon)
 Indianapolis, IN 46250                              225 W. Main Street
                                                     P.O. Box 668
                                                     Lebanon, IN 46052

 Michael L. Schultz
 PARR RICHEY FRANDSEN PATTERSON
 KRUSE, LLP (Indianapolis)
 251 N. Illinois Street, Suite 1800
 Indianapolis, IN 46204


                                                      /s/ Brent R. Borg_______________
                                                      Brent R. Borg, Atty. No: 27415-29




                                                 2
